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 8
                                 IN THE UNITED STATES DISTRICT COURT
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                               FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                            SACRAMENTO DIVISION
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13   RALPH COLEMAN, et al.,                                    Case No. 2:90-cv-00520 KJM-DB (PC)
14                                              Plaintiffs, STIPULATION AND ORDER
                                                            EXTENDING THE TIME TO FILE
15                     v.                                   AMENDED MONTHLY STAFFING
                                                            VACANCY REPORTS FOR DECEMBER
16                                                          2022 IN RESPONSE TO MARCH 17, 2023
     GAVIN NEWSOM, et al.,                                  ORDER [ECF NO. 7766]
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                                             Defendants. Judge: The Hon. Kimberly J. Mueller
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     [4258483.1]                                           1
          Stip. and Order Extend. Time to File Amended Reports under March 17 Order (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 7791 Filed 03/31/23 Page 2 of 3


 1             On March 17, 2023, the Court ordered Defendants to file an amended version of the
 2   monthly mental health staffing vacancy report filed February 9, 2023 (ECF No. 7717), which
 3   “shall report mental health vacancy data for positions allocated and filled under the 2009 Staffing
 4   Plan and modifications thereto separately from positions allocated and filled under the CDCR PIP
 5   Staffing Plan, and shall include vacancy data for the medical assistant classification.” (ECF
 6   No. 7766.) The Court has requested the amended reports so that it can correct the following
 7   statement from p. 2 lines 12-17 of the 2/28/23 order on staffing:
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                        As of December 2022, defendants have a total of 2,395.5 allocated
 9                      mental health staff positions. More than ten percent of those
10                      positions are vacant across all classifications; the vacancy rate
                        among psychiatrists is eighteen percent, the vacancy rate among
11                      psychologists is thirty-three percent, the vacancy rate among social
                        workers is thirty-one percent, the vacancy rate among recreation
12                      therapists is fourteen percent, and the vacancy rate among medical
                        assistants is twenty-seven percent.
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14   (ECF No. 7717 at 2:12-17.)

15             To respond to the Court’s order for staffing data required to correct the February 28 order,

16   Defendants need to prepare a revised report that separates out the staffing positions allocated

17   under the 2009 Staffing Plan from those allocated under the PIP Staffing Plan. The March 13,

18   2023 order requires Defendants to file this expanded report by March 24, 2023. (ECF No. 7766

19   at 2.) Defendants represent that they are working diligently to compile the data necessary to

20   prepare the expanded report, but cannot complete this task within the five working days afforded

21   under the March 17 order. Defendants approached the Plaintiffs concerning their need for

22   additional time to prepare and file the expanded report. Specifically, Defendants requested a

23   three business day extension of time, or until March 29, 2023, in which to file the amended

24   vacancy report covering the month of December 2022. Plaintiffs do not oppose this brief

25   extension request.

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     [4258483.1]                                           2
          Stip. and Order Extend. Time to File Amended Reports under March 17 Order (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 7791 Filed 03/31/23 Page 3 of 3


 1             Accordingly, Defendants request that the Court extend the deadline for Defendants to file
 2   the amended staff vacancy reports required under the March 17 order to March 29, 2023.
 3             IT IS SO STIPULATED.
 4   Dated: March 24, 2023                                      ROB A. BONTA
                                                                ATTORNEY GENERAL OF CALIFORNIA
 5                                                              DAMON MCCLAIN
                                                                SUPERVISING DEPUTY ATTORNEY GENERAL
 6
                                                               /s/ Elise Owens Thorn
 7                                                              ELISE OWENS THORN
                                                                DEPUTY ATTORNEY GENERAL
 8                                                             ATTORNEYS FOR DEFENDANTS
 9   Dated: March 24, 2023                                     HANSON BRIDGETT LLP
10                                                             /s/ Samantha D. Wolff
                                                               PAUL MELLO
11
                                                               SAMANTHA D. WOLFF
12                                                             Attorneys for Defendants

13   Dated: March 24, 2023                                     ROSEN BIEN GALVAN & GRUNFELD LLP
14                                                             /s/ Jenny Yelin
                                                               JENNY YELIN
15                                                             Attorneys for Plaintiffs
16   IT IS SO ORDERED.
17   DATED: March 20, 2023.
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     [4258483.1]                                           3
          Stip. and Order Extend. Time to File Amended Reports under March 17 Order (2:90-cv-00520 KJM-DB (PC))
